Case 1:11-cv-00559-WMS Document 19-72 Filed 07/26/11 Page1of1

District: 7

e 7
4 i
sis fej Sige Tutere, 2
one Se Blum Ave 3
4, Se" Hinman Ave S
95, Ruhl Aves
Kofler Ave =
LayerAve ©
pace S* y
Lawn Ave Yag2
jasper Parrish Dr a5 Rd
s Boe <
Gladet sie at wen? Z Rounds Ave
e.St + as. Minnesota Ave San is e
ae a Mie, Las, lon >
‘ aor Debra 45 3 Ave alle Ave v 2 + 3 2 ¢
we o @ Dartmouth Ave hirley Ave = & eo ew
g
Chandler St_, = 4. 4%. Dunlop Ave = 2 ov a aa? oe
Grote St 9h, 8 Mn Se = Hewitt Ave uw Gi F pe iaasp
a eo 3 Cs, os Stockbridge Ave = or e ealare
fe 2h og Morris. Ave ““g¢ a uw Berkshire Ave & CG Sbuthgate Rd
= nts 2 8 rst St ke Z 922 SS Kenville Rd
£ ae" $2 = N Meadibw Dr Vergy Pl = Bennett Village Ter 2 S53 6 w Edith St s }
ee Ww 3 Sugte aoe Alice Ave a ' *
= ne BY a - ves ES a Fennimore Ave we ff a a
pipet = Wade Ave Se 22% Tia Ba Davidson Ave " @ cedarRd 3, §
2 Rodnev. AG az tyGF FE Hastings Ave = 7 cfs
= pater ave — gee gee Cog | [Pivlieabe pp BR
2 & “Wakefield Ave & 228 22 3 Collingwood Ave Millicent. Ae Zz 3
iii __ JessemiNe . Be % fy > Atewett Ave i gz B53 US a Andover Ave Roosevelt Ave =
8 f ny Pack 24, "Poy +) -Leroy.Ave = 2% o ree Oskmont Ave c Kensingt®
© Rockwell R, ay 4 =re :
g a ad A © my & 5 %, 7 Dewey Ave Bengal ave Cloverdale Ruspin Ave z é
& - g iad 0, 4 _ Drexel Rd empstead Ave
5 4a Bradley St = E Se Me Ye ia KEhave:PI pen Ose Connelly Ave Langfield Dr 5 is
oe 2 a oo —- & £ 2verdun Ave Maple Ridge Ave | Becker St Westen Ave :
a Forest Ave 3 mo SY Be a 4 2 a © 2) Manhart St wEaston Ave
Pooley PI G TO a7 2 a 3 > es I,0 Proctor Ave. 2a 9 wt
= 3 u*Ss aon 2 = > 2. gt? 2 to
<P Bird Ave o 3% Seases 3 > Bl s/s 2% Arden Ave? sugZadyZurd
Garner Ave = 32 Gae zo 3 >» §6 Be S @ Gerald Ave <<8u zen By
patemac AVE = meme & S @ij0F 23 8 3% F 5 22en 82 5e2e
un oa S\EE * oF a Page e@atrac
w dt Perking Pl z re Appenheimer Ave ade Belas fie 28 BENS EGESISS
Delavan Ave : ‘an Ave 5 ; aa a= 5° = as a = a
Brace sy Helen St 2 ohican Ave &3 > a 3 < 2
Lafayette Ave _.. = ity Cir 3 z
ad tl a Ai
MBL Ave = ine b 4 i ve cy
tke ege# 4 = Lok a
Arid, Spo ds <2 ~ =
ese Eb .S5 2.°%, 82 w z
20 <3 oe a
W Feary s gO 4 we B
Ary x a
Arkansas St %, Bs wi a St
i California St % Ges
‘Albany St ta “ye >
1 2. 2
? Rye £6
eh vi A W.Utiea g
ch 2,
%,
Pea

